Form B18 (Official Form 18)(10/05)

                                     United States Bankruptcy Court
                                             Eastern District of Michigan
                                                  Case No. 05−85188−tjt
                                                        Chapter 7

 In re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
     Oscar Hernandez
     417 East Washtenaw, #4
     Ypsilanti, MI 48197
 Social Security No.:
    xxx−xx−5667
 Employer's Tax I.D. No.:



                                            DISCHARGE OF DEBTOR

 It appearing that the debtor is entitled to a discharge,

 IT IS ORDERED:

 The debtor is granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).



                                                             BY THE COURT

 Dated: 5/8/06                                               Thomas J. Tucker
                                                             United States Bankruptcy Judge



                     SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.




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                                  EXPLANATION OF BANKRUPTCY DISCHARGE
                                           IN A CHAPTER 7 CASE

       This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case
and it does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For
example, a creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to
attach wages or other property, or to take any other action to collect a discharged debt from the debtor. [In a case
involving community property: There are also special rules that protect certain community property owned by the
debtor's spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required
to pay damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest,
against the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case.
Also, a debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

      The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged.
Most, but not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this
case was begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to
debts owed when the bankruptcy case was converted.)

Debts that are Not Discharged.

       Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

       a. Debts for most taxes;

       b. Debts incurred to pay nondischargeable taxes; * applies to cases filed on or after October 17, 2005.

       c. Debts that are domestic support obligations;

       d. Debts for most student loans;

       e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

       f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
       while intoxicated;

       g. Some debts which were not properly listed by the debtor;

       h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
       discharged;

       i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
       compliance with the Bankruptcy Code requirements for reaffirmation of debts.

       j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
       Plan for federal employees for certain types of loans from these plans. * applies to cases filed on or after
       October 17, 2005.


      This information is only a general summary of the bankruptcy discharge. There are exceptions
to these general rules. Because the law is complicated, you may want to consult an attorney to determine the
exact effect of the discharge in this case.


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